Case No. 1:14-cv-03074-CMA-KMT Document 431-1 filed 11/10/16 USDC Colorado pg 1
                                    of 10




         EXHIBIT A
Case No. 1:14-cv-03074-CMA-KMT Document 431-1 filed 11/10/16 USDC Colorado pg 2
                                    of 10




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:14-cv-03074-CMA-KMT
  JOHANA PAOLA BELTRAN; and those similarly situated,

  Plaintiffs,

  v.

  INTEREXCHANGE, INC.;
  USAUPAIR, INC.;
  GREATAUPAIR, LLC;
  EXPERT GROUP INTERNATIONAL INC., DBA EXPERT AUPAIR;
  EURAUPAIR INTERCULTURAL CHILD CARE PROGRAMS;
  CULTURAL HOMESTAY INTERNATIONAL;
  CULTURAL CARE, INC. D/B/A CULTURAL CARE AU PAIR;
  AUPAIRCARE, INC.;
  AU PAIR INTERNATIONAL, INC.;
  APF GLOBAL EXCHANGE, NFP;
  AMERICAN INSTITUTE FOR FOREIGN STUDY DBA AU PAIR IN AMERICA;
  AMERICAN CULTURAL EXCHANGE, LLC, DBA GOAUPAIR;
  AGENT AU PAIR;
  A.P.E.X. AMERICAN PROFESSIONAL EXCHANGE, LLC DBA PROAUPAIR; and
  20/20 CARE EXCHANGE, INC. DBA THE INTERNATIONAL AU PAIR EXCHANGE

  Defendants.
  ______________________________________________________________________

      DECLARATION OF SARAH V. McNAMARA IN SUPPORT OF DEFENDANT
    AUPAIRCARE, INC.’S MOTION TO COMPEL ARBITRATION AND DISMISS OR,
      ALTERNATIVELY, STAY LAWSUIT (RESPONSE TO SECOND AMENDED
                          COMPLAINT, DOC. # 395)
  ____________________________________________________________________


          1. My name is Sarah V. McNamara. I am over the age of 18. I have personal

  knowledge of the matters set forth in this Declaration, except matters stated on

  information and belief, and as to those matters, I am informed and believe they are true.




                                             1
             Case No. 1:14-cv-03074-CMA-KMT Document 431-1 filed 11/10/16 USDC Colorado pg 3
                                                 of 10




                  If called as a witness, I could and would testify competently to the matters set forth in

                  this declaration.

                         2.     Juliane Harning signed an Au Pair Agreement with AuPairCare in or about

                  August 2013. A true and correct copy of this Agreement is attached as Exhibit 1.

                         3.     Laura Mejia Jimenez signed an Au Pair Agreement with AuPairCare in

                  2014. A true and correct copy of this Agreement is attached as Exhibit 2.

                         I declare under penalty of perjury under the laws of the United States that the

                  foregoing is true and correct.   Executed this 10th day of November, 2016, in San

                  Francisco, California.



                                                                 __           /s/ Sarah V. McNamara
                                                                        Sarah V. McNamara




1104001/30379537v.1




                                                             2
Case No. 1:14-cv-03074-CMA-KMT Document 431-1 filed 11/10/16 USDC Colorado pg 4
                                    of 10




                            Exhibit 1
    Case No. 1:14-cv-03074-CMA-KMT Document 431-1 filed 11/10/16 USDC Colorado pg 5
                                        of 10




HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY APC 000490
    Case No. 1:14-cv-03074-CMA-KMT Document 431-1 filed 11/10/16 USDC Colorado pg 6
                                        of 10




HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY APC 000491
    Case No. 1:14-cv-03074-CMA-KMT Document 431-1 filed 11/10/16 USDC Colorado pg 7
                                        of 10




HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY APC 000492
    Case No. 1:14-cv-03074-CMA-KMT Document 431-1 filed 11/10/16 USDC Colorado pg 8
                                        of 10




HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY APC 000493
    Case No. 1:14-cv-03074-CMA-KMT Document 431-1 filed 11/10/16 USDC Colorado pg 9
                                        of 10




HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY APC 000494
    Case No. 1:14-cv-03074-CMA-KMT Document 431-1 filed 11/10/16 USDC Colorado pg 10
                                        of 10




HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY APC 000495
